     Case 3:17-cv-00939-WHA Document 362-2 Filed 05/05/17 Page 1 of 2



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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11   WAYMO LLC,                                           Case No.      3:17-cv-00939-WHA
12                         Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                          DEFENDANTS UBER
13          v.                                            TECHNOLOGIES, INC. AND
                                                          OTTOMOTTO LLC’S
14   UBER TECHNOLOGIES, INC.,                             ADMINISTRATIVE MOTION TO
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    FILE UNDER SEAL
15
                           Defendants.
16                                                        Trial Date: October 2, 2017
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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 362-2 Filed 05/05/17 Page 2 of 2



 1          Upon consideration of Defendants Uber Technologies, Inc. and Ottomotto LLC’s

 2   (“Defendants”) Administrative Motion to File Under Seal, and finding that good cause exists, this

 3   Court hereby GRANTS Defendants’ Administrative Motion to File Under Seal and ORDERS that

 4   the following document shall be sealed, as indicated below:

 5

 6   Title of Document                                         Portions to Be Filed Under Seal

 7   Defendants’ Response to Waymo’s Objections                      Highlighted Portions
     to Evidence Cited in Defendants’ Preliminary
 8   Injunction Sur-Reply (“Defendants’
     Response”)
 9

10   Exhibit A to Declaration of Esther Chang in                     Highlighted Portions
     Support of Defendants’ Response
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            IT IS SO ORDERED.
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     Dated: _____________, 2017
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                                                   Hon. William Alsup
17                                                 United States District Court Judge

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     [PROPOSED] ORDER GRANTING DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
                                                                                                         1
